   Case 13-11697                Doc 30          Filed 02/16/16 Entered 02/16/16 16:54:36                                    Desc Main
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